                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               HOT SPRINGS DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    CASE NO: 6:24-CR-60018-001

DANIEL BARNARD WHITLOCK                                                             DEFENDANT

                                     ORDER OF DETENTION

       The Defendant appeared for initial appearance on an Indictment filed in this case on June

4th, 2024 ECF No. [1]. The Government requested pre-trial detention at the time of the hearing.

The Court explained to the Defendant the right to a hearing to consider the issue of pretrial release

or detention. The Defendant request a detention hearing and it is set for August 21, 2024 at 10

AM in Hot Springs, AR.

       Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court ORDERS as follows:

       1. The Defendant be committed to the custody of the Attorney General for
          confinement in a corrections facility separate, to the extent practicable, from
          persons awaiting or serving sentences or being held in custody pending appeal;

       2. The Defendant be afforded reasonable opportunity for private consultation with
          counsel; and

       3. That, on Order of a court of the United States, or on request of an attorney for
          the Government, the person in charge of the corrections facility in which the
          Defendant is confined deliver the Defendant to a United States Marshal for the
          purpose of an appearance in connection with a court proceeding.

       SIGNED this 15th day of August, 2024.


                                                      /s/ Barry A. Bryant
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                                                      BARRY A. BRYANT
                                                      UNITED STATES MAGISTRATE JUDGE
